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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. 1:11-cr-00274 LJO
12                                 Plaintiff,                STIPULATION TO CONTINUE
                                                             SENTENCING
13   v.
                                                             DATE:       March 4, 2013
14   VICTOR VASQUEZ                                          TIME:       8:30 a.m.
                                                             JUDGE:      Hon. Lawrence J. O’Neill
15                                 Defendant,
16

17                                              STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for sentencing on March 4, 2013 at 8:30 a.m.
21
            2.       By this stipulation, the parties move to continue sentencing until April 8, 2013 at
22

23 8:30 a.m.

24          3.       The parties agree and stipulate that there are facts and circumstances that are

25 currently under review that will not be resolved until early March 2013 that may impact the sentence
26 of Mr. Vasquez. It is respectfully requested that the current date set for sentencing be vacated and

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     that the matter be re-set for sentencing on April 8, 2013 at 8:30 a.m. or at a date and time thereafter
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                                                         1
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     that is convenient to the Court. The parties further request that the Local Rule briefing schedule for
 1
     informal and formal objections to the PSR be reset to coincide with the new sentencing date.
 2

 3

 4 IT IS SO STIPULATED.

 5

 6 DATED:           February 8, 2013
 7
                                           /s/ Henry Z. Carbajal III
 8                                         HENRY Z. CARBAJAL III
                                           Assistant United States Attorney
 9

10 DATED:           February 8, 2013
11
                                           /s/Martin Taleisnik
12                                         MARTIN TALEISNIK
                                           Counsel for Defendant
13                                         VICTOR VASQUEZ
14

15                                                ORDER
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     IT IS SO ORDERED.
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21      Dated:     February 11, 2013                                           /s/ Lawrence J. O’Neill
                                                                             UNITED STATES DISTRICT JUDGE
22
                                                       DEAC_Signature-END:




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